














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-140-CV



CONGLOMERATE GAS II, L.P.
	
APPELLANT



V.



ORO FINANCIAL, INC. AND MICHELLE D. URIA
 			APPELLEES

 
	

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FROM THE &nbsp;236
th
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Agreed Motion To Dismiss.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the party incurring the same
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.

PER CURIAM

PANEL D: &nbsp;CAYCE, C.J.; DAUPHINOT and MCCOY, JJ. &nbsp;



DELIVERED: &nbsp;June 12, 2008 &nbsp;&nbsp;&nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




